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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 16-cr-00341-CMA

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. DAVID ANSBERRY,

      Defendant.


GOVERNMENT’S MOTION UNDER U.S.S.G. § 3E1.1(b) FOR 1-LEVEL REDUCTION
 IN DEFENDANT’S OFFENSE LEVEL FOR ACCEPTANCE OF RESPONSIBILITY


      The United States of America, by undersigned counsel, respectfully moves for an

additional one-level reduction in the defendant’s offense level pursuant to Section

3E1.1(b) of the United States Sentencing Guidelines. Defendant’s agreement to plead

guilty and timely notice thereof permitted the government to avoid preparing for trial and

permitted both the government and the Court to allocate their resources more efficiently.

                                                Respectfully submitted,

                                                ROBERT C. TROYER
                                                United States Attorney

                                                By: s/ David A. Tonini
                                                Assistant United States Attorney
                                                United States Attorney’s Office
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of August, 2018, I electronically filed the
foregoing GOVERNMENT’S MOTION UNDER U.S.S.G. § 3E1.1(b) FOR 1-LEVEL
REDUCTION IN DEFENDANT’S OFFENSE LEVEL FOR ACCEPTANCE OF
RESPONSIBILITY the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following e-mail address:

Defense Attorney:
Colette Tvedt (colette@tvedtlaw.com)
Abraham Hutt (abe@rklawpc.com)

                                                  s/ David Tonini
                                                  By: David Tonini
                                                  Assistant U.S. Attorney
